              Case 2:06-cr-00441-DAD Document 375 Filed 05/19/11 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-06-0441 GEB
                                                      )
10
                                                      )
            Plaintiff,                                )       STIPULATION AND
11
                                                      )       [PROPOSED ORDER] CONTINUING
     v.                                               )       STATUS CONFERENCE
12
                                                      )
     WENDALL STEWART, et al,                          )       Date: July 22, 2011
13
                                                      )       Time: 9:00 a.m.
                                                      )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendants.                               )
                                                      )
15
                                                      )
                                                      )
16

17
            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
19
     Ricardo Venegas, John R. Manning, Esq., counsel for defendant Wendell Stewart, Candace A.
20
     Fry, Esq., and counsel for defendant Isauro Jauregui Catalan, Edward C. Bell, Esq., that the
21
     status conference presently set for May 20, 2011 be continued to July 22, 2011, at 9:00 a.m.,
22
     thus vacating the presently set status conference.
23
            Counsel for the parties agree that this is an appropriate exclusion of time within the
24
     meaning of Title 18, United States Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable
25
     time for effective preparation, specifically the continuance is requested to allow more time for
26
     defense preparation and possible negotiations for resolution) and Local Code T4, and agree to
27
     exclude time from the date of the filing of the order until the date of the status conference,
28
     July 22, 2011.


                                                          1
             Case 2:06-cr-00441-DAD Document 375 Filed 05/19/11 Page 2 of 3



 1   IT IS SO STIPULATED.
 2
     Dated: May 17, 2011                              /s/ John R. Manning
 3                                                   JOHN R. MANNING
                                                     Attorney for Defendant
 4                                                   Ricardo Venegas
 5
     Dated: May 17, 2011                             /s/ Candace A. Fry
 6                                                   CANDACE A. FRY
                                                     Attorney for Defendant
 7                                                   Wendell Stewart
 8
     Dated: May 17, 2011                              /s/ Edward C. Bell
 9                                                   EDWARD C. BELL
                                                     Attorney for Defendant
10                                                   Isauro Jauregui Catalan
11

12   Dated: May 17, 2011                             Benjamin B. Wagner
                                                     United States Attorney
13

14                                             by:   /s/ Jill M. Thomas
                                                     JILL M. THOMAS
15                                                   Assistant U.S. Attorney
16

17

18

19

20

21

22

23

24

25

26

27

28




                                           2
              Case 2:06-cr-00441-DAD Document 375 Filed 05/19/11 Page 3 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                      ) No. CR-S-06-0441 GEB
                                                    )
10
                                                    )
            Plaintiff,                              ) [PROPOSED] ORDER TO
11
                                                    ) CONTINUE STATUS CONFERNCE
     v.                                             )
12
                                                    )
     WENDALL STEWART, et al.,                       )
13
                                                    )
                                                    )
14          Defendants.                             )
                                                    )
15
                                                    )
                                                    )
16

17

18
            GOOD CAUSE APPEARING, it is hereby ordered that the May 20, 2011 status
19
     conference be continued to July 22, 2011 at 9:00 a.m. I find that the ends of justice warrant an
20
     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
21
     effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT IS
22
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
23
     Local Code T4 from the date of this order to July 22, 2011.
24
     IT IS SO ORDERED.
25
     Date: 5/18/2011
26

27                                                        _________________________
                                                          GARLAND E. BURRELL, JR.
28                                                        United States District Judge


                                                     3
